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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                 ) Civil Action No. 2:20-cv-01484
  RAFAEL FIGUEROA, et al,
                                                 )
                                                 )
                            Plaintiffs,          ) Magistrate Judge Lisa Pupo Lenihan
                                                 )
                       v.                        ) ECF No. 40
                                                 )
  POINT PARK UNIVERSITY,                         )
                                                 )
                            Defendant.           )


  ORDER ON DEFENDANT’S MOTION FOR 28 U.S.C. § 1292(B) CERTIFICATION


For the reasons set forth in the Memorandum Opinion filed on even date herewith:



IT IS HEREBY ORDERED that Defendant’s Motion requesting modification of the Court’s

August 11, 2021 Order, ECF No. 40, is DENIED.


Dated: October 26, 2021                                   BY THE COURT:




                                                          __________________________
                                                          LISA PUPO LENIHAN
                                                          United States Magistrate Judge
